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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

--------------------------------------------------------------- x
In re:                                                          : Chapter 11
                                                                :
                                                         1
The Weinstein Company Holdings LLC, et al.,                     : Case No. 18-10601 (MFW)
                                                                :
                  Debtors.                                      : (Jointly Administered)
                                                                :
-------------------------------------------------------------- x
                      NOTICE OF AGENDA OF MATTERS SCHEDULED
                   FOR HEARING ON DECEMBER 17, 2019 AT 11:30 A.M. (ET)

I.       CONTINUED MATTERS:

         1.        Debtors’ Motion for Entry of Orders (I)(A) Approving Bidding Procedures for
                   Sale of Substantially All of the Debtors’ Assets, (B) Approving Stalking Horse
                   Bid Protections, (C) Scheduling Auction for, and Hearing to Approve, Sale of
                   Substantially All of the Debtors’ Assets, (D) Approving Form and Manner of
                   Notices of Sale, Auction and Sale Hearing, (E) Approving Assumption and
                   Assignment Procedures and (F) Granting Related Relief and (II)(A) Approving
                   Sale of Substantially All of the Debtors’ Assets Free and Clear of All Liens,
                   Claims, Interests and Encumbrances, (B) Approving Assumption and Assignment
                   of Executory Contracts and Unexpired Leases and (C) Granting Related Relief
                   [Docket No. 8 - filed March 20, 2018]

                   Cure Objections, Assumption and Assignment Objections, and Other Related
                         Objections / Response Deadline:

                            Notice at Docket No. 216: April 30, 2018 at 4:00 p.m. (ET); extended
                            until May 3, 2018 at 4:00 p.m. (ET) for Nu Image, Inc., Sony,
                            Bunim/Murray Productions, Universal Music Enterprises, a division of
                            UMG Recordings, Inc., Universal Music Corp., Songs of Universal, Inc.,
                            Universal Tunes, a division of Songs of Universal Inc., Capitol Christian
                            Music Group, and CMG Publishing, Interscope Records, a division of
                            UMG Recordings, Inc., and any other Universal Music entity, Angry
                            Blonde Productions, Inc., Shady Records, Inc., Shroom Shady Music,
                            LLC, and Marshall B. Mathers (entities as part of a transaction with
                            Interscope Records, a Universal entity)

1
  The last four digits of The Weinstein Company Holdings LLC’s federal tax identification number are (3837). The
mailing address for The Weinstein Company Holdings LLC is 99 Hudson Street, 4th Floor, New York, New York 10013.
Due to the large number of Debtors in these cases, which are being jointly administered for procedural purposes only, a
complete list of the Debtors and the last four digits of their federal tax identification numbers are not provided herein. A
complete list of this information may be obtained on the website of the Debtors’ noticing and claims agent at
http://dm.epiq11.com/twc.



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                           Notice at Docket No. 282: May 3, 2018 at 4:00 p.m. (ET); extended until
                           May 7, 2018 at 4:00 p.m. (ET) for A&E Television Networks, LLC (and
                           its related entities, including Lifetime Entertainment Services)

                           Notice at Docket No. 482: May 7, 2018 at 4:00 p.m. (ET); extended until
                           May 15, 2018 at 4:00 p.m. (ET) for Saving Santa The Movie, Ltd. and
                           until May 16, 2018 at 4:00 p.m. (ET) for Jeff Abbott

                   Cure Objections, Assumption and Assignment Objections, and Other Related
                         Objections Received: See Exhibit A attached hereto.

                   Related Documents:

                   i.      Notice of Second Supplemental Potential Assumption and Assignment of
                           Executory Contracts or Unexpired Leases and Cure Amounts [Docket No.
                           482 - filed April 27, 2018]

                   ii.     Order (I) Authorizing the Sale of All or Substantially All of the Debtors’
                           Assets Free and Clear of All Liens, Claims, Interests, Encumbrances and
                           Other Interests, (II) Authorizing the Assumption and Assignment of
                           Certain Executory Contracts and Unexpired Leases in Connection
                           Therewith, and (III) Granting Related Relief [Docket No. 846 - entered
                           May 9, 2018]

                   iii.    Notice of Filing of Final List of Potentially Assume Contracts and Leases
                           [Docket No. 860 - filed May 10, 2018]

                   iv.     Order Approving Amendment to Asset Purchase Agreement Entered Into
                           By and Between the Debtors and Lantern Entertainment LLC [Docket No.
                           1220 - entered July 11, 2018] 2

                   v.      Notice of Filing of List of Assumed Contracts Pursuant to Sale Order
                           [Docket No. 1457 - filed September 5, 2018]

                   vi.     Supplemental Notice of Filing of List of Assumed Contracts Pursuant to
                           Sale Order [Docket No. 846] [Docket No. 1512 – filed September 20,
                           2018]

                   vii.    Supplemental Notice of Filing of List of Assumed Contracts Pursuant to
                           Sale Order [Docket No. 1665 - filed November 5, 2018]

                   viii.   Supplemental Notice of Filing of List of Assumed Contracts Pursuant to
                           Sale Order [Docket No. 1695 - filed November 8, 2018]

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  On March 19, 2019, Spyglass Media Group, LLC (f/k/a Lantern Entertainment LLC) filed the Notice of Legal
Name Change [Docket No. 2201] identifying that Lantern Entertainment LLC (“Lantern”) changed its name with
the Secretary of State for the State of Delaware to Spyglass Media Group, LLC. References to Lantern are now
references to Spyglass Media Group, LLC (f/k/a Lantern Entertainment LLC).

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                   Status: The status of the remaining outstanding cure objections, assumption and
                           assignment objections, and other related objections received is noted on
                           Exhibit A attached hereto.

         2.        Debtors’ Statement Regarding Contracts to Be Transferred Pursuant to the Asset
                   Purchase Agreement with Lantern Entertainment LLC [Docket No. 1003 - filed
                   June 8, 2018]

                   Objection / Response Deadline:       June 18, 2018 at 4:00 p.m. (ET); extended
                                                        for certain of the parties listed on Exhibit B
                                                        attached hereto.

                   Objections / Responses Received:     See Exhibit B attached hereto.

                   Related Documents: None at this time.

                   Status: The status of the outstanding objections received is noted on Exhibit B
                           attached hereto.

         3.        Notice of Filing of List of Assumed Contracts Pursuant to Sale Order [Docket No.
                   1457 - filed September 5, 2018]

                   Objection / Response Deadline:       September 17, 2018 at 4:00 p.m. (ET);
                                                        extended by agreement for Portfolio
                                                        Funding Company LLC I to June 17, 2019
                                                        at 5:00 p.m. (PT)/8:00 p.m. (ET) with
                                                        respect to the Notices at Docket Nos. 1457,
                                                        1512, 1665 and 1695.

                   Objections / Responses Received:     See Exhibit C attached hereto.

                   Related Documents:

                   i.     Supplemental Notice of Filing of List of Assumed Contracts Pursuant to
                          Sale Order [Docket No. 846] [Docket No. 1512 – filed September 20,
                          2018]

                   ii.    Supplemental Notice of Filing of List of Assumed Contracts Pursuant to
                          Sale Order [Docket No. 1665 - filed November 5, 2018]

                   iii.   Supplemental Notice of Filing of List of Assumed Contracts Pursuant to
                          Sale Order [Docket No. 1695 - filed November 8, 2018]

                   Status: The status of the remaining outstanding objections received is noted on
                           Exhibit C attached hereto.




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II.      INTERIM FEE APPLICATIONS:

         4.        Interim Fee Applications [See Exhibit D hereto]

                   Related Documents: None at this time.

                   Status: The Debtors anticipate that they will file a proposed form of interim fee
                   order under certification in advance of the hearing. However, at this time, the
                   hearing on this matter will go forward.

                   .



Dated: December 13, 2019
       Wilmington, Delaware
                                          /s/ David T. Queroli
                                          RICHARDS, LAYTON & FINGER, P.A.
                                          Mark D. Collins (No. 2981)
                                          Paul N. Heath (No. 3704)
                                          Zachary I. Shapiro (No. 5103)
                                          Brett M. Haywood (No. 6166)
                                          David T. Queroli (No. 6318)
                                          One Rodney Square
                                          920 North King Street
                                          Wilmington, Delaware 19801
                                          Telephone: (302) 651-7700
                                          Facsimile: (302) 651-7701

                                          - and -

                                          CRAVATH, SWAINE & MOORE LLP
                                          Paul H. Zumbro (admitted pro hac vice)
                                          George E. Zobitz (admitted pro hac vice)
                                          Karin A. DeMasi (admitted pro hac vice)
                                          Worldwide Plaza
                                          825 Eighth Avenue
                                          New York, New York 10019
                                          Telephone: (212) 474-1000
                                          Facsimile: (212) 474-3700

                                          Attorneys for the Debtors and Debtors in Possession




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                     Exhibit A - Cure Objections, Assumption and Assignment Objections, and Other Related Objections

Tab                 Respondent                                                                   Status

  A.                Timur Bekmambetov, Bazelevs U.S., Inc., Tengri, Inc., and Mirsand On June 28, 2019, the Court entered an
                    Limited [Docket No. 454 - filed April 26, 2018] [Supplemental Objection at order [Docket No. 2445] approving a
                    Docket No. 666 - filed May 2, 2018]                                         stipulation (the “Stipulation”) regarding this
                                                                                                matter. Accordingly, certain portions of this
                                                                                                matter are resolved subject to the terms of
                                                                                                the Stipulation. The unresolved portions of
                                                                                                this matter have been continued to the next
                                                                                                omnibus hearing date.
  B.                Beta Film GmbH [Docket No. 501 - filed April 27, 2018]                      On December 3, 2019, the Court entered an
                                                                                                order [Docket No. 2647] approving the
                                                                                                Termination and Release Agreement
                                                                                                resolving this matter in accordance with the
                                                                                                terms therein.
  C.                Cross City Films Ltd. [Docket No. 522 - filed April 30, 2018]               On October 18, 2018, the Court entered an
                                                                                                order [Docket No. 1615] approving a
                                                                                                stipulation regarding this matter.
                                                                                                Accordingly, certain portions of this matter
                                                                                                are resolved. The unresolved portions of
                                                                                                this matter have been continued to the next
                                                                                                omnibus hearing date.
  D.                Black Bear Pictures [Docket No. 527 - filed April 30, 2018] [Declaration at The hearing on this matter has been
                    Docket No. 530 - April 30, 2018]                                            continued to the next omnibus hearing date.

  E.                The Bully Project, LLC and Lee Hirsch [Docket No. 532 - filed April 30, The hearing on this matter has been
                    2018]                                                                   continued to the next omnibus hearing date.

  F.                Jennifer Lawrence and Floffin, Inc. Concerning the Film Silver Linings The objection is being held in abeyance
                    Playbook [Docket No. 543 - filed April 30, 2018]                       pending the appeal at Docket No. 2065.




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Tab                 Respondent                                                                   Status

  G.                JPC Enterprises, Inc., New Crime Productions, LLC, Cusack Enterprises, The hearing on this matter has been
                    LLC, and John Cusack [Docket No. 547 - filed April 30, 2018]           continued to the next omnibus hearing date.

  H.                Jerry’s Brother, Inc., and David S. Zucker [Docket No. 572 - filed April 30, The objection is being held in abeyance
                    2018]                                                                        pending the appeal at Docket No. 2065.

  I.                Dynamic ‘88 Productions, Inc., George Clooney, Good Lie, Inc., and Grant The objection is being held in abeyance
                    Heslov [Docket No. 578 - filed April 30, 2018]                           pending the appeal at Docket No. 2065.

  J.                Estate of Wes Craven [Docket No. 580 - filed April 30, 2018]            The objection is being held in abeyance
                                                                                            pending the appeal at Docket No. 2065.
  K.                Sabajka Productions II, Inc., and Julia Roberts [Docket No. 585 - filed The objection is being held in abeyance
                    April 30, 2018]                                                         pending the appeal at Docket No. 2065.

  L.                Meryl Streep [Docket No. 588 - filed April 30, 2018]                     The objection is being held in abeyance
                                                                                             pending the appeal at Docket No. 2065.
  M.                PC Films, LLC, Willie Lump Lump Enterprises, Inc., Bill Murray, The objection is being held in abeyance
                    Goldenlight Films, Inc., and Ted Melfi [Docket No. 589 - filed April 30, pending the appeal at Docket No. 2065.
                    2018]

  N.                WB Studio Enterprises Inc. and Warner Bros. Entertainment Inc. [Docket The hearing on this matter has been
                    No. 592 - filed April 30, 2018] [Supplemental Objection at Docket No. continued to the next omnibus hearing date.
                    1820 - filed December 4, 2018] [Supplemental Objection at Docket No.
                    2100 – filed February 15, 2019 (withdrawn at Docket No. 2313)]

  O.                Bank of America, N.A. [Docket No. 599 - filed April 30, 2018]           The hearing on this matter has been
                                                                                            continued to the next omnibus hearing date.
  P.                Portfolio Funding Company LLC I [Sealed at Docket No. 603 - filed April The hearing on this matter has been
                    30, 2018] [Redacted at Docket No. 604 - filed April 30, 2018]           continued to the next omnibus hearing date.

  Q.                Creative Artists Agency, LLC [Docket No. 601 - filed April 30, 2018]         The hearing on this matter has been
                                                                                                 continued to the next omnibus hearing date.

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Tab                 Respondent                                                                   Status

  R.                Bruce Cohen Productions and Bruce Cohen [Docket No. 607 - filed April The objection is being held in abeyance
                    30, 2018]                                                             pending the appeal at Docket No. 2065.

  S.                Lesia Anson [Docket No. 630 - filed April 30, 2018]                          On April 8, 2019, the Court entered an order
                                                                                                 [Docket No. 2279] holding this objection in
                                                                                                 abeyance pending the resolution or other
                                                                                                 disposition of related litigation pending in
                                                                                                 the United States District Court for the
                                                                                                 Central District of California.




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Tab                 Respondent                                                                Status

  T.                Contract Counterparties [Wang Qin, Wang Hong, Amityville Horror        Certain portions of this matter are resolved.
                    Enterprises, LLC, Cindy Lee Stock, Noel Lutz, Gabrielle Lutz, Melissa  The Court entered orders approving
                    Irwin, Vertigo Prime Inc., Good Fear Film, Inc., Roy Lee, Chris Bender,stipulations attached thereto resolving
                    22nd and Indiana Inc., Bradley Cooper, Tim Gunn Productions Inc., Tim  certain portions of this matter at Docket No.
                    Gunn, Fade to Black Productions, Inc., Tom Ford, Outerbanks            1573 for Wang Qin and Wang Hong, Docket
                    Entertainment, Inc., Kevin Williamson, Music For the People and Mark   No. 1574 for Vertigo Prime Inc., Good Fear
                    Wahlberg] [Docket No. 668 - filed May 2, 2018]                         Film, Inc., Roy Lee, and Chris Bender, and
                                                                                           Docket No. 2444 for Outerbanks
                                                                                           Entertainment, Inc. and Kevin Williamson.
                                                                                           The Debtors understand that Spyglass Media
                                                                                           Group, LLC (f/k/a Lantern Entertainment
                                                                                           LLC) has been in discussions with certain
                                                                                           counterparties and that Spyglass Media
                                                                                           Group, LLC (f/k/a Lantern Entertainment
                                                                                           LLC) is no longer interested in acquiring the
                                                                                           Tim Gunn Productions Inc. and Tim Gunn
                                                                                           contract(s) subject to objection.
                                                                                           Accordingly, the objection regarding the
                                                                                           Tim Gunn Productions Inc. and Tim Gunn
                                                                                           contracts subject to objection is moot. On
                                                                                           October 10, 2019, the Court entered the
                                                                                           Order Approving Settlement Agreement
                                                                                           Between the Debtors, Tim Gunn, and Tim
                                                                                           Gunn Productions, Inc. [Docket No. 2604]
                                                                                           resolving certain open matters with respect
                                                                                           to Tim Gunn and Tim Gunn Productions,
                                                                                           Inc.
  U.                Lions Gate Entertainment Corp., Lions Gate Films Inc., Anchor Bay The hearing on this matter has been
                    Entertainment LLC, Starz LLC, Starz Media, LLC and Starz Entertainment continued to the next omnibus hearing date.
                    LLC [Docket No. 694 - filed May 3, 2018]



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Tab                 Respondent                                                                   Status

  V.                Jennifer Aniston and Two Eleven Productions, Inc., Concerning the Film The hearing on this matter has been
                    Derailed [Docket No. 699 - filed May 3, 2018]                          continued to the next omnibus hearing date.

  W.                Unifi Completion Guaranty Insurance Solutions, Inc. as Agent and The hearing on this matter has been
                    Attorney-in-Fact for Atlantic Specialty Insurance Company [Docket No. continued to the next omnibus hearing date.
                    721 - May 3, 2018] [Supplemental Objection at Docket No. 950 - filed May
                    30, 2018]

  X.                Toyota Motor Sales, U.S.A., Inc. and Toyota Motor Corporation [Docket The hearing on this matter has been
                    No. 728 - filed May 3, 2018]                                          continued to the next omnibus hearing date.

  Y.                Directors Guild of America, Inc., Screen Actors Guild-American The hearing on this matter has been
                    Federation of Television and Radio Artists, the Writers Guild of America, continued to the next omnibus hearing date.
                    West, Inc., Their Respective Pension and Health Plans, and the Motion
                    Picture Industry Pension and Health Plans [Docket No. 742 - filed May 3,
                    2018]

  Z.                Arclight Films [Docket No. 771 - filed May 4, 2018]                   The hearing on this matter has been
                                                                                          continued to the next omnibus hearing date.
  AA.               British Broadcasting Corporation (BBC) [Docket No. 821 - filed May 7, The hearing on this matter has been
                    2018]                                                                 continued to the next omnibus hearing date.




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Tab                 Respondent                                                                 Status

  BB.               Univision Networks & Studios, Inc. [Docket No. 912 - filed May 18, 2018]  Certain portions of this matter are resolved
                                                                                              subject to the terms set forth in the
                                                                                              Stipulation By and Among the Debtors,
                                                                                              Spyglass Media Group, LLC (f/k/a Lantern
                                                                                              Entertainment LLC), and Univision
                                                                                              Networks & Studios, Inc. Regarding
                                                                                              Assumption and Assignment of the Title 33
                                                                                              Agreement (the “Stipulation”). The Court
                                                                                              entered an order approving the Stipulation at
                                                                                              Docket No. 2299. The unresolved portions
                                                                                              of this matter have been continued to the
                                                                                              next omnibus hearing date.
  CC.               BBC Worldwide Limited [Docket No. 964 - filed June 1, 2018]               The hearing on this matter has been
                                                                                              continued to the next omnibus hearing date.
  DD.               Jon Gordon and Jon Gordon Productions, Inc. [Docket No. 1274 - filed July The objection is being held in abeyance
                    27, 2018]                                                                 pending the appeal at Docket No. 2065.

  EE.               Luge Club Productions, Inc. [Docket No. 1488 – filed September 17, 2018]   The Debtors understand that Spyglass Media
                                                                                               Group, LLC (f/k/a Lantern Entertainment
                                                                                               LLC) is no longer interested in acquiring the
                                                                                               contract(s) subject to objection.
                                                                                               Accordingly, the objection is moot.
  FF.               The Sapphires Film Holdings Pty Ltd [Informal Response]                    The hearing on this matter has been
                                                                                               continued to the next omnibus hearing date.




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                                                        Exhibit B

         Tab       Objection                                                        Status

             A.    Objection of Kanzeon Corp. and David O. Russell to Debtors’     The objection is being held in abeyance
                   Statement Regarding Contracts to Be Transferred Pursuant to the pending the appeal at Docket No. 2065.
                   Asset Purchase Agreement with Lantern Entertainment LLC and
                   Reservation of Rights [Docket No. 1040 - filed June 18, 2018]

             B.    Objection of Bazelevs U.S., Timur Bekmambetov, Mirsand           On June 28, 2019, the Court entered an order
                   Limited, Tengri, Inc. and Mirsand Limited re Executory Nature    [Docket No. 2445] approving a stipulation
                   of Current War Producing Service Agreement and Amendment         (the “Stipulation”) regarding this matter.
                   Thereto [Docket No. 1043 - filed June 18, 2018]                  Accordingly, certain portions of this matter
                                                                                    are resolved subject to the terms of the
                                                                                    Stipulation. The unresolved portions of this
                                                                                    matter have been continued to the next
                                                                                    omnibus hearing date.
             C.    Objection of Bruce Cohen Productions and Bruce Cohen to          The objection is being held in abeyance
                   Debtors’ Statement Regarding Contracts to Be Transferred         pending the appeal at Docket No. 2065.
                   Pursuant to the Asset Purchase Agreement with Lantern
                   Entertainment LLC; and Reservation of Rights [Docket No.
                   1045 - filed June 18, 2018]

             D.    Objection of Dynamic ‘88 Productions, Inc., George Clooney,      The objection is being held in abeyance
                   Good Lie, Inc., and Grant Heslov to Debtors’ Statement           pending the appeal at Docket No. 2065.
                   Regarding Contracts to Be Transferred Pursuant to the Asset
                   Purchase Agreement with Lantern Entertainment LLC; and
                   Reservation of Rights [Docket No. 1046 - filed June 18, 2018]

             E.    Objection of 22nd and Indiana Inc. and Bradley Cooper to         The objection is being held in abeyance
                   Debtors’ Statement Regarding Contracts to Be Transferred         pending the appeal at Docket No. 2065.
                   Pursuant to the Asset Purchase Agreement with Lantern
                   Entertainment LLC [Docket No. 1048 - filed June 18, 2018]



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         Tab       Objection                                                          Status

             F.    Objection of Meryl Streep to Debtors’ Statement Regarding          The objection is being held in abeyance
                   Contracts to Be Transferred Pursuant to the Asset Purchase         pending the appeal at Docket No. 2065.
                   Agreement with Lantern Entertainment LLC; and Reservation of
                   Rights [Docket No. 1049 - filed June 18, 2018]

             G.    Objection of Canal Productions, Inc. and Robert De Niro to         The objection is being held in abeyance
                   Debtors’ Statement Regarding Contracts to Be Transferred           pending the appeal at Docket No. 2065.
                   Pursuant to the Asset Purchase Agreement with Lantern
                   Entertainment LLC; and Reservation of Rights [Docket No.
                   1050 - filed June 18, 2018]

             H.    Response and Reservation of Rights of The Estate of Wes            The objection is being held in abeyance
                   Craven Regarding Debtors’ Statement Regarding Contracts to         pending the appeal at Docket No. 2065.
                   Be Transferred Pursuant to the Asset Purchase Agreement with
                   Lantern Entertainment LLC [Docket No. 1052 - filed June 18,
                   2018]

             I.    Objection of Willie Lump Lump Enterprises, Inc., and Bill          The objection is being held in abeyance
                   Murray to Debtors’ Statement Regarding Contracts to Be             pending the appeal at Docket No. 2065.
                   Transferred Pursuant to the Asset Purchase Agreement with
                   Lantern Entertainment LLC; and Reservation of Rights [Docket
                   No. 1055 - filed June 18, 2018]

             J.    Objection of Sabjaka Productions II, Inc., and Julia Roberts to    The objection is being held in abeyance
                   Debtors’ Statement Regarding Contracts to Be Transferred           pending the appeal at Docket No. 2065.
                   Pursuant to the Asset Purchase Agreement with Lantern
                   Entertainment LLC; and Reservation of Rights [Docket No.
                   1058 - filed June 18, 2018]




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         Tab       Objection                                                           Status

             K.    Joinder of Jennifer Lawrence and Floffin, Inc. to the Objections    The objection is being held in abeyance
                   Filed by (I) Kanzeon Corp. and David O. Russell, (II) 22nd and      pending the appeal at Docket No. 2065.
                   Indiana Inc. and Bradley Cooper, and (III) Canal Productions,
                   Inc., and Robert De Niro to Debtors’ Statement Regarding
                   Contracts to Be Transferred Pursuant to the Asset Purchase
                   Agreement with Lantern Entertainment LLC; and Reservation of
                   Rights [Docket No. 1059 - filed June 18, 2018]

             L.    Objection of Donna Gigliotti to Debtors’ Statement Regarding        The objection is being held in abeyance
                   Contracts to Be Transferred Pursuant to the Asset Purchase          pending the appeal at Docket No. 2065.
                   Agreement with Lantern Entertainment LLC; and Reservation of
                   Rights [Docket No. 1063 - filed June 18, 2018]

             M.    Response of Visiona Romantica, Inc. and Quentin Tarantino to        The hearing on this matter has been
                   Debtors’ Statement Regarding Contracts to Be Transferred            continued to the next omnibus hearing date.
                   Pursuant to the Asset Purchase Agreement with Lantern
                   Entertainment LLC and Reservation of Rights [Docket No. 1064
                   - filed June 18, 2018]

             N.    Response to and Reservation of Rights of JCP Enterprises, Inc.,     The hearing on this matter has been
                   New Crime Productions, LLC, Cusack Enterprises, LLC, and            continued to the next omnibus hearing date.
                   John Cusack to Debtors’ Statement Regarding Contracts to Be
                   Transferred Pursuant to the Asset Purchase Agreement with
                   Lantern Entertainment LLC [Docket No. 1065 - filed June 18,
                   2018]

             O.    Objection of Jerry’s Brother, Inc., and David Zucker to Debtors’ The objection is being held in abeyance
                   Statement Regarding Contracts to Be Transferred Pursuant to the pending the appeal at Docket No. 2065.
                   Asset Purchase Agreement with Lantern Entertainment LLC;
                   and Reservation of Rights [Docket No. 1066 - filed June 18,
                   2018]


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         Tab       Objection                                                          Status

             P.    Objection of Wang Qin and Wang Hong to the Debtors’                This matter is partially resolved. The Court
                   Statement Regarding Contracts to Be Transferred Pursuant to the    entered an order approving a stipulation
                   Asset Purchase Agreement with Lantern Entertainment LLC            attached thereto resolving the matter at
                   [Docket No. 1231 - filed July 11, 2018]                            Docket No. 1573. The unresolved portions of
                                                                                      this matter have been continued to the next
                                                                                      omnibus hearing date.




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                                                              Exhibit C

         Tab            Objection                                                           Status

                   A.   Response and Reservation of Rights of Executory Contract            The hearing on this matter has been
                        Counterparties to Notice of Filing of List of Assumed Contracts     continued to the next omnibus hearing date.
                        Pursuant to Sale Order [Docket No. 1496 - filed September 17,       Certain of these parties have their portions of
                        2018] [Bill Murray and Willie Lump Lump Enterprises, Inc.,          the objection held in abeyance pending the
                        Brad Pitt and Potter, Inc., Bruce Cohen and Bruce Cohen             appeal at Docket No. 2065.
                        Productions, David O. Russell and Kanzeon Corp., David
                        Zucker and Jerry’s Brother, Inc., Donna Gigliotti, George
                        Clooney and Dynamic ’88 Productions, Inc., Grant Heslov and
                        Good Lie, Inc., Jake Gyllenhaal and Cykel Corp., John Cusack,
                        JPC Enterprises, LLC, Cusack Enterprises, LLC, New Crime
                        Productions, LLC, Jon Gordon and Jon Gordon Productions,
                        Inc., Julia Roberts and Sabajka Productions II, Inc., Lorenzo di
                        Bonaventura and di Bonaventura Pictures, Inc., Meryl Streep;
                        Peter Chernin and PC Films, Inc., Rachel McAdams and Pink
                        Fox, Inc., Robert De Niro and Canal Productions, Inc., The
                        Estate of Wes Craven, Theodore Melfi and Goldenlight Films,
                        Inc.]

                   B.   Limited Objection of Certain Contract Counterparties to             The objection is being held in abeyance
                        Debtors’ Notice of Filing of List of Assumed Contracts Pursuant     pending the appeal at Docket No. 2065.
                        to Sale Order and Reservation of Rights [Docket No. 1497 -
                        filed September 17, 2018] [Wang Qin, Wang Hong, Vertigo
                        Prime Inc., Good Fear Film, Inc., Roy Lee, Chris Bender, 22nd
                        and Indiana Inc., Bradley Cooper, Fade to Black Productions,
                        Inc., Tom Ford, Outerbanks Entertainment, Inc., Kevin
                        Williamson, Music For the People and Mark Wahlberg]




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         Tab            Objection                                                         Status

                   C.   Objection of Jon Gordon and Jon Gordon Productions, Inc. to       The objection is being held in abeyance
                        Notice of Filing of List of Assumed Contracts Pursuant to Sale    pending the appeal at Docket No. 2065.
                        Order; and Reservation of Rights [Docket No. 1498 - filed
                        September 17, 2018]

                   D.   Objection of Executory Contract Counterparties to Supplemental The objection is being held in abeyance
                        Notice of Filing of List of Assumed Contracts Pursuant to Sale    pending the appeal at Docket No. 2065.
                        Order [D.I. 1695]; and Reservation of Rights [Docket No. 1769 -
                        filed November 26, 2018] [Bruce Cohen, Bruce Cohen
                        Productions, Robert De Niro, Canal Productions, Inc., Donna,
                        Gigliotti, David Zucker, Jerry’s Brother, Inc., David O. Russell,
                        Kanzeon Corp., Bill Murray, Willie Lump Lump Enterprises,
                        Inc., Julia Roberts, Sabajka Productions II, Inc., and Meryl
                        Streep]

                   E.   Objection of Stephen King to Supplemental Notice of Filing of     The hearing on this matter has been
                        List of Assumed Contracts Pursuant to Sale Order [Docket No.      continued to the next omnibus hearing date.
                        1808 - filed December 4, 2018]

                   F.   Objection and Reservation of Rights of Portfolio Funding          The hearing on this matter has been
                        Company LLC I to the Assumed Contracts Schedules [Docket          continued to the next omnibus hearing date.
                        No. 2421 – filed June 17, 2019]




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                          x
In re:                                                    :    Chapter 11
                                                          :
THE WEINSTEIN COMPANY HOLDINGS                            :    Case No. 18-10601 (MFW)
LLC, et al.,                                              :
                                                          :    (Jointly Administered)
                   Debtors. 1                             :
                                                          x
               AMENDED 2 INDEX OF INTERIM FEE APPLICATIONS
         SCHEDULED FOR HEARING ON DECEMBER 17, 2019 AT 11:30 A.M. (ET)

Cravath, Swaine &Moore LLP

1.       Notice of Sixth Interim Application Request of Cravath, Swaine & Moore LLP for July 1,
         2019 through September 30, 2019 [Docket No. 2633-filed November 14, 2019]

         Objection Deadline: December 4, 2019 at 4:00 p.m. (ET)

         Related Documents:

         i.        Sixteenth Monthly Application of Cravath, Swaine & Moore LLP for Allowance of
                   Compensation for Services Rendered and for Reimbursement of Expenses as
                   Counsel to the Debtors and Debtors in Possession for the Period from July 1, 2019
                   through July 31, 2019 [Docket No. 2564 – filed August 30 2019]

         ii.       Certification of No Objection Regarding Sixteenth Monthly Application of Cravath,
                   Swaine & Moore LLP for Allowance of Compensation for Services Rendered and
                   for Reimbursement of Expenses as Counsel to the Debtors and Debtors in Possession
                   for the Period from July 1, 2019 through July 31, 2019 (No Order Required) [Docket
                   No. 2582 – filed September 23, 2019]

         iii.      Seventeenth Monthly Application of Cravath, Swaine & Moore LLP for Allowance
                   of Compensation for Services Rendered and for Reimbursement of Expenses as
                   Counsel to the Debtors and Debtors in Possession for the Period from August 1,
                   2019 through August 31, 2019 [Docket No. 2591 – filed September 30, 2019]

1
  The last four digits of The Weinstein Company Holdings LLC’s federal tax identification number are (3837). The
mailing address for The Weinstein Company Holdings LLC is 99 Hudson Street, 4th Floor, New York, New York
10013. Due to the large number of debtors in these cases, which are being jointly administered for procedural purposes
only, a complete list of the Debtors and the last four digits of their federal tax identification numbers is not provided
herein. A complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
http://dm.epiq11.com/twc.
2
 Additional items that were not included in the fee binders that were delivered to the Court on December 10,
2019 appear in bold.




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         iv.        Certification of No Objection Regarding Seventeenth Monthly Application of
                    Cravath, Swaine & Moore LLP for Allowance of Compensation for Services
                    Rendered and for Reimbursement of Expenses as Counsel to the Debtors and
                    Debtors in Possession for the Period from August 1, 2019 through August 31, 2019
                    (No Order Required) [Docket No. 2616 – filed October 23, 2019]

         v.         Eighteenth Monthly Application of Cravath, Swaine & Moore LLP for Allowance of
                    Compensation for Services Rendered and for Reimbursement of Expenses as
                    Counsel to the Debtors and Debtors in Possession for the Period from September 1,
                    2019 through September 30, 2019 [Docket No. 2621 – filed October 30, 2019]

         vi.        Certification of No Objection Regarding Eighteenth Monthly Application of
                    Cravath, Swaine & Moore LLP for Allowance of Compensation for Services
                    Rendered and for Reimbursement of Expenses as Counsel to the Debtors and
                    Debtors in Possession for the Period from September 1, 2019 through September 30,
                    2019 (No Order Required) [Docket No. 2642 – filed November 25, 2019]

Richards, Layton & Finger, P.A.

2.       Notice of Sixth Interim Fee Application Request of Richards, Layton & Finger, P.A. for July
         1, 2019 through September 30, 2019 [Docket No. 2634 – filed November 14, 2019]

         Objection Deadline: December 4, 2019 at 4:00 p.m. (ET)

         Related Documents:

         i.         Sixteenth Monthly Application of Richards, Layton & Finger, P.A. for Allowance of
                    Compensation for Services Rendered and for Reimbursement of Expenses as Co-
                    Counsel to the Debtors and Debtors in Possession for the Period from July 1, 2019
                    through July 31, 2019 [Docket No. 2565 – filed August 30, 2019]

         ii.        Certification of No Objection Regarding Sixteenth Monthly Application of Richards,
                    Layton & Finger, P.A. for Allowance of Compensation for Services Rendered and
                    for Reimbursement of Expenses as Co-Counsel to the Debtors and Debtors in
                    Possession for the Period from July 1, 2019 through July 31, 2019 (No Order
                    Required) [Docket No. 2583 – filed September 23, 2019]

         iii.       Seventeenth Monthly Application of Richards, Layton & Finger, P.A. for Allowance
                    of Compensation for Services Rendered and for Reimbursement of Expenses as Co-
                    Counsel to the Debtors and Debtors in Possession for the Period from August 1,
                    2019 through August 31, 2019 [Docket No. 2600 – filed October 7, 2019]

         iv.        Certification of No Objection Regarding Seventeenth Monthly Application of
                    Richards, Layton & Finger, P.A. for Allowance of Compensation for Services
                    Rendered and for Reimbursement of Expenses as Co-Counsel to the Debtors and
                    Debtors in Possession for the Period from August 1, 2019 through August 31, 2019
                    (No Order Required) [Docket No. 2620–filed October 30, 2019]

         v.         Eighteenth Monthly Application of Richards, Layton & Finger, P.A. for Allowance

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                    of Compensation for Services Rendered and for Reimbursement of Expenses as Co-
                    Counsel to the Debtors and Debtors in Possession for the Period from September 1,
                    2019 through September 30, 2019 [Docket No. 2626 – filed November 1, 2019]

         vi.        Certification of No Objection Regarding Eighteenth Monthly Application of
                    Richards, Layton & Finger, P.A. for Allowance of Compensation for Services
                    Rendered and for Reimbursement of Expenses as Co-Counsel to the Debtors and
                    Debtors in Possession for the Period from September 1, 2019 through September 30,
                    2019 (No Order Required) [Docket No. 2643– filed November 25, 2019]

Seyfarth Shaw LLP

3.       Fifth Interim Fee Application Request of Seyfarth Shaw LLP for July 1, 2019 through
         September 30, 2019 [Docket No. 2635 – filed November 14, 2019]

         Objection Deadline: December 17, 2019 at 4:00 p.m. (ET)

         Related Documents:

         i.         Eleventh Monthly Fee Application of Seyfarth Shaw LLP for Allowance of
                    Compensation for Services Rendered and for Reimbursement of Expenses as Special
                    Litigation Counsel to the Debtors and Debtors-in-Possession for the Period from July
                    1, 2019 to July 31, 2019 [Docket No. 2571 – filed September 6, 2019]

         ii.        Certification of No Objection Regarding Eleventh Monthly Fee Application of
                    Seyfarth Shaw LLP for Allowance of Compensation for Services Rendered and for
                    Reimbursement of Expenses as Special Litigation Counsel to the Debtors and
                    Debtors-in-Possession for the Period from July 1, 2019 through July 31, 2019 (No
                    Order Required) [Docket No. 2593 – filed October 3, 2019]

         iii.       Twelfth Monthly Fee Application of Seyfarth Shaw LLP for Allowance of
                    Compensation for Services Rendered and for Reimbursement of Expenses as Special
                    Litigation Counsel to the Debtors and Debtors-in-Possession for the Period from
                    August 1, 2019 through August 31, 2019 [Docket No. 2590–filed September 27,
                    2019]

         iv.        Certification of No Objection Regarding Twelfth Monthly Fee Application of
                    Seyfarth Shaw LLP for Allowance of Compensation for Services Rendered and for
                    Reimbursement of Expenses as Special Litigation Counsel to the Debtors and
                    Debtors-in-Possession for the Period from August 1, 2019 through August 31, 2019
                    (No Order Required) [Docket No. 2613 – filed October 18, 2019]

         v.         Thirteenth Monthly Fee Application of Seyfarth Shaw LLP for Allowance of
                    Compensation for Services Rendered and for Reimbursement of Expenses as Special
                    Litigation Counsel to the Debtors and Debtors-in-Possession for the Period from
                    September 1, 2019 through September 30, 2019 [Docket No. 2615 – filed October
                    22, 2019]

         vi.        Certification of No Objection Regarding Thirteenth Monthly Fee Application of

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                    Seyfarth Shaw LLP for Allowance of Compensation for Services Rendered and for
                    Reimbursement of Expenses as Special Litigation Counsel to the Debtors and
                    Debtors-in-Possession for the Period from September 1, 2019 through September 30,
                    2019 (No Order Required) [Docket No. 2626 – filed November 1, 2019]

Berkeley Research Group, LLC

4.       Sixth Interim Application of Berkeley Research Group, LLC for Compensation for Services
         Rendered and Reimbursement of Expenses as Financial Advisor to the Official Committee
         of Unsecured Creditors During the Period from July 1, 2019 through September 30, 2019
         [Docket No. 2636 – filed November 14, 2019]

         Objection Deadline: December 4, 2019 at 4:00 p.m. (ET)

         Related Documents:

         i.         Certification of No Objection Regarding Sixth Interim Application of Berkeley
                    Research Group, LLC for Compensation for Services Rendered and Reimbursement
                    of Expenses Incurred as Financial Advisor to the Official Committee of Unsecured
                    Creditors During the Period from July 1, 2019 through September 30, 2019 [Docket
                    No. 2652 – filed December 9, 2019]

Pachulski Stang Ziehl & Jones LLP

5.       Sixth Quarterly Application for Compensation and Reimbursement of Expenses of
         Pachulski, Stang, Ziehl & Jones LLP, as Counsel for the Official Committee of Unsecured
         Creditors, for the Period from July 1, 2019 through September 30, 2019 [Docket No.2640–
         filed November 19, 2019]

         Objection Deadline: December 9, 2019 at 4:00 p.m. (ET)

         Related Documents:

         i.         Sixteenth Monthly Application for Compensation and Reimbursement of Expenses
                    of Pachulski, Stang, Ziehl & Jones LLP, as Counsel for the Official Committee of
                    Unsecured Creditors, for the Period from July 1, 2019 through July 31, 2019 [Docket
                    No. 2637 – filed November 19, 2019]

         ii.        Seventeenth Monthly Application for Compensation and Reimbursement of
                    Expenses of Pachulski Stang Ziehl & Jones LLP as Counsel for the Official
                    Committee of Unsecured Creditors for the Period from August 1, 2019 through
                    August 31, 2019 [Docket No. 2638 – filed November 19, 2019]

         iii.       Eighteenth Monthly Application for Compensation and Reimbursement of Expenses
                    of Pachulski Stang Ziehl & Jones LLP as Counsel for the Official Committee of
                    Unsecured Creditors for the Period from September 1, 2019 through September 30,
                    2019 [Docket No. 2639 – filed November 19, 2019]



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         iv.        Certificate of No Objection for          Sixteenth Monthly Application for
                    Compensation and Reimbursement of        Expenses of Pachulski, Stang, Ziehl &
                    Jones LLP, as Counsel for the Official   Committee of Unsecured Creditors, for
                    the Period from July 1, 2019 through     July 31, 2019 [Docket No. 2653 – filed
                    December 11, 2019]

         v.         Certificate of No Objection for Seventeenth Monthly Application for
                    Compensation and Reimbursement of Expenses of Pachulski, Stang, Ziehl &
                    Jones LLP, as Counsel for the Official Committee of Unsecured Creditors, for
                    the Period from August 1, 2019 through August 31, 2019 [Docket No. 2654 –
                    filed December 11, 2019]

         vi.        Certificate of No Objection for Eighteenth Monthly Application for
                    Compensation and Reimbursement of Expenses of Pachulski, Stang, Ziehl &
                    Jones LLP, as Counsel for the Official Committee of Unsecured Creditors, for
                    the Period from September 1, 2019 through September 30, 2019 [Docket No.
                    2655 – filed December 11, 2019]

         vii.       Certificate of No Objection Regarding Sixth Quarterly Application for
                    Compensation and Reimbursement of Expenses of Pachulski, Stang, Ziehl &
                    Jones LLP, as Counsel for the Official Committee of Unsecured Creditors, for
                    the Period from July 1, 2019 through September 30, 2019 [Docket No. 2656 –
                    filed December 11, 2019]




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